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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


WILLIAM HAMPTON STEWART, JR                                 CIVIL ACTION


VERSUS                                                      NO. 16-8529


MARK ES JENSON, ET AL.                                      SECTION "L" (2)


                                            ORDER

       Having been informed that all of the parties to this action have firmly agreed upon a

compromise,

       IT IS ORDERED that this action be and is hereby DISMISSED without cost and

without prejudice to the right, upon good cause shown, to reopen the action or to seek summary

judgment enforcing the compromise if settlement is not consummated within a reasonable time.

       The Court retains jurisdiction for all purposes, including enforcing the settlement

agreement entered into by the parties. COUNSEL ARE REMINDED THAT, if witnesses have

been subpoenaed, EVERY WITNESS MUST be notified by counsel not to appear.



       New Orleans, Louisiana, this 17th day of November, 2016.



                                                          UNITED STATES DISTRICT JUDGE
